
29 N.Y.2d 615 (1971)
In the Matter of Milton Kellog, Appellant,
v.
Supreme Court, County of Queens, et al., Respondents.
Court of Appeals of the State of New York.
Argued June 8, 1971.
Decided July 7, 1971.
John E. Shaffer for appellant.
Thomas J. Mackell, District Attorney (Kenneth Ross Wolfe of counsel), respondent, pro se.
Louis J. Lefkowitz, Attorney-General (Charles A. La Torella, Jr. and Samuel A. Hirshowitz of counsel), for Supreme Court, County of Queens, respondent.
Concur: Chief Judge FULD and Judges BURKE, SCILEPPI, BERGAN, BREITEL, JASEN and GIBSON.
Order affirmed, without costs. We find nothing in this case to warrant resort to the extraordinary remedy of prohibition (see Matter of Lee v. County Ct. of Erie County, 27 N Y 2d 432, 438). No opinion.
